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                CALENDAR AND SETTLEMENT CONFERENCE ORDER

     A    settlement    conference    with   the    undersigned    has   been

scheduled in this case for January 24, 2020 at 10:00 a.m. at 450

Main Street, Hartford, Connecticut.           Those in attendance at the

conference should be prepared to spend the remainder of the day at

the settlement conference.

     I. PARTIES WITH FULL AUTHORITY MUST ATTEND.           The parties are

hereby ORDERED to be present at the conference.           If a party is a

legal entity, not an individual, a representative of the party

who is fully authorized to decide all matters pertaining to the

case shall be present at the conference.           The purpose of this

requirement is to have in attendance a person with both the

authority and independence to settle the case during the

settlement conference without consulting anyone not present.             The

requirement that parties personally appear is intended to

increase the efficiency and effectiveness of the settlement

conference.

     II. CONFERENCE MEMORANDA.        By noon on January 22, 2020,

counsel shall submit ex parte, confidential conference

memorandum.     The memorandum shall be double spaced in no less

than 12 point font and shall not exceed 10 pages.           It shall

include: (A) a list of the claims and defenses; (B) the legal

elements of the claims and defenses; (C) the evidence in support

of the claims and defenses; (D) a discussion of the strengths and
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weaknesses of the case; (E) settlement negotiations to date; (F)

a discussion of the parties' incentives and impediments to

settlement; and (G) a list of all those who will attend the

conference, including job titles.

    Settlement conference memoranda should be emailed to

Robert_Wood@ctd.uscourts.gov

    SO ORDERED this 17th day of January, 2020 at Hartford,

Connecticut.

                                 _____/s/______________________
                                 Donna F. Martinez
                                 United States Magistrate Judge




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